PROB.12 Case 2:02-cr-20151-STA Document 832 Filed 08/25/05 Page 1 of 3 Page|D 853
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CLEH%<, l_.F.SI WSTP‘§CT COURT
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U. S. A. vs. Barbara Richmond Docket No. 2:02CR20151-06

Petition on Probation and Supervised Release

COMES NOW I)gyl K. Butler PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Barbara Richmond Who was placed on supervision by the Honorable M
Smith Gibbons sitting in the Court at Mernphis, TN on theA)_tl_i__ day of September, 2002, Who fixed the period of
supervision at three 13 1 years , and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

l. The defendant shall pay restitution in the amount of$21,364.72. (Balance: $20,764.72)

2. The defendant Sha]l provide access to any requested financial information as directed by the Probation
Of`ficer.

3. The defendant shall be prohibited from opening additional lines of credit Without approval of the Probation
Officer.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant failed to pay $21,364.72. restitution as ordered by the Court.

Barbara Richmond is unable to satisfy the restitution as ordered by the Court. Although she has made infrequent
monthly payments, it is believed she has paid to the best of` her financial ability, given her necessary living expenses
versus her income. As of August 19, 2005, she has made a total of $600.{)0, leaving an unpaid balance of
$20,764.72. lt should be noted that Ms. Richmond paid her $100.00 Special Assessment in lilll. Ms. Richmond
has signed an agreement with the U.S. Attomey Financial Litigation Unit to continue payments in the amount of
$20.00 per month, with the payment amount being reviewed periodically

PRAYING THAT THE COURT WILL ORI)ER Barbara Richmond’s Probation be allowed to expire as
scheduled on September 19, 2005, With the understanding that the United States Attomey’s Office Will be
responsible for the continued collection of the restitution.

 

   

ORDER OF COURT Re ectfully,
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Considered and ordered this ')-.> _day H/\ Q ./\_
of , 20 03 and ordered filed Daryl K.‘Butler
and ma art of the records in the above United States Probation OPficer

 

 

 

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UNITED `SETATS DISTRIC COURT - WTERN D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of`the document docketed as number 832 in
case 2:02-CR-20151 Was distributed by f`aX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Case 2:02-cr-20151-STA Document 832 Filed 08/25/05 Page 3 of 3 Page|D 855

Honorable .l. Breen
US DISTRICT COURT

